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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

United States of America,

Plaintiff,

Vv. No. 04 CR 464-6
Corey Evans,

Defendant

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ORDER

 

Defendant’s motion to reduce his sentence pursuant to Section
404 of the First Step Act (the “Act”) is granted. Section 404(b) of
the Act provides:

(a) DEFINITION OF COVERED OFFENSE. In this section, the

term “covered offense” means a violation of a Federal

criminal statute, the statutory penalties for which were

modified by section 2 or 3 of the Fair Sentencing Act of

2010...that was committed before August 3, 2010.

{o) DEFENDANTS PREVIOUSLY SENTENCED. A court that imposed

a sentence for a covered offense may...impose a reduced

sentence as if section 2 and 3 of the Fair Sentencing Act

of 2010...were in effect at the time the covered offense

was committed.
PL 115-391, 132 Stat 5194.

I have previously expressed my agreement with the vast majority
of courts to have examined the issue and held that eligibility under

Section 404 of the Act is determined categorically, based on the

statute of conviction, rather than individually, based on the

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defendant’s offense conduct. United States v. Hill, No. 02-CR 236-
2, DN 734 (N.D. Ill. Oct. 2, 2019); United States v. Reed, No. 02-
CR-236, DN 727 (N.D. Ill. Aug. 8, 2019) {citing cases).1 The
government’s contrary argument rests on what another court has
characterized as “two erroneous interpretive choices.” United States
v. Rose, 379 F. Supp. 3d 233 (S.D.N.Y¥. 2019).

First, the Government construes the dependent clause, “the

statutory penalties for which were modified by section 2

or 3 of the Fair Sentencing Act of 2010” (hereinafter

“penalties clause”), as modifying the noun “violation,”

rather than modifying the phrase “Federal criminal

statute.” Next, the Government construes “violation” to

mean the actual conduct underlying the offense, rather

than the elements of the offense.
Id. at 228-229. This is the very interpretation the government
advances here. I agree with the Rose court, however, that the more
natural reading, given the conventions of English grammar, is that
the “penalties clause” modifies the phrase “Federal criminal
statute.” I further agree that to the extent the term “violation”
may be ambiguous, the ambiguity should be resolved in Evans's favor

in view of the “remedial purpose” of both the First Step Act and the

Fair Sentencing Act. Id. See also United States v. Allen, 384 F.

 

1 As the government observes, a handful of courts have come out the
other way. See, e.g., United States v. Glover, 377 F. Supp. 3d 1346
(S.D. Fla. 2019); United States v. Blocker, 378 F. Supp. 3d 1125
(N.D. Fla. 2019); United States v. Haynes, No. 8:08CR441, 2019 WL
1430125, at *2 (D. Neb. Mar. 29, 2019). But see United States v.
White, No. 99-CR-628-04, 2019 WL 3228335, at *5 (S.D. Tex. Jul. 17,
2019) (identifying over forty cases to have followed the majority
view and referring to the foregoing three as “outliers”).

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Supp. 3d 238, 242 (D. Conn. 2019) (resolving ambiguity in defendant’s
favor based on statutory purpose and rule of lenity).

Nor am I persuaded that a different outcome is warranted on the
basis that Mr. Evans pled guilty to a conspiracy involving multiple
substances. As the court explained in United States v. Jones, No.
3:99-cr-264-6 (VAB), 2019 WL 4933578 (D. Conn. Oct. 7, 2019), nothing
in the text of § 404(a) First Step Act

restricts eligibility to defendants who were only

convicted of a singular violation of a federal criminal

statute whose penalties were modified by section 2 or

section 3 of the Fair Sentencing Act. So long as a

defendant was convicted of “a violation”’—i.e., at least

one violation-for which the penalties were modified by

section 2 or 3 of the Fair Sentencing Act, he or she is

eligible for relief. ,

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Id. at *9 (D. Conn. Oct. 7, 2019). See also United States*v. Opher,
---F. Supp. 3d---, 2019 WL 3297201, at **11-12 (D.N. 2, July 23,
2019); United States v. Medina, No. 3:05-cr-58 (SRU), 2019 WL
3769598, at *2 (D. Conn. July 17, 2019) (defendant convicted of
offense involving both crack cocaine and powder cocaine eligible for
First Step Act relief). The government cites no authority for its
contrary view that the Act “applies to violations involving only
crack cocaine,” Resp. at 22 (emphasis added), which is, at bottom,
a variation on its abortive argument that offense conduct, rather

than the statute of conviétion, determines eligibility under the

Act. See Opher, 2019 WL 3297201, at *8 (court’s analysis of the
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“powder question” turns on whether offense conduct or statute of
conviction governs eligibility) .?

In a related argument, the government insists that Mr. Evans's
putative admissions during his plea hearing render him ineligible
for relief, citing United States v. Paulette, 858 F.3d 1055 (7th
Cir. 2017), a case on which Mr. Evans also relies. Paulette holds
that although “[a] plea of guilty admits only the essential elements
of the offense,” a defendant “may admit far more than the elements
of a charged crime by stipulating to facts in a plea agreement, by
agreeing with the government’s factual basis, or even by answering
the judge’s questions during the plea colloquy.” Id. at 1059, 1060.
In Paulette, the defendant signed a written plea agreement in which
he admitted responsibility for specific drug types and quantities
sufficient to trigger a statutory 10-year minimum sentence under 21
U.S.C. § 841(b) (1) (A) (viii). The court held that because “that
admission from the plea agreement is conclusive,” the district court
properly relied on it in calculating his sentence. Id. at 1060.

In the government’s view, Mr. Evans’s general agreement with
the government’s description of his offense similarly amounts to a

conclusive admission of responsibility for specific drug types and

 

2 Although not cited by the government, there is some authority for
its view. See, e.g., United States v. Westbrook, No. 09-714-2, 2019
WL 1543571 (D. S. C. Apr. 9, 2019) United States v. Dewitt, No. 12-
183, 2019 WL 2537292 (S.D. Ohio June 20, 2019); United States v.
Gravatt, No. 01-736-01, 2019 WL 2366587 (D.S.C. June 5, 2019); United
states v. Smith, No. 02-448, 2019 WL 2330482 (M.D. Fla. May 31,
2019). I do not find these decisions persuasive.

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quantities, and that these admissions trigger enhanced penalties
even under the amended statutory regime (i.e., post-Fair Sentencing
Act). Accordingly, the government insists, the record supports the
imposition of a mandatory minimum penalty that the First Step Act
does not disturb. Resp. at 27. But the colloquy to which the
government points is not like the unambiguous admission of
responsibility for specific quantities of specific substances that
was memorialized in the written plea agreement in Paulette. At his
plea hearing, Mr. Evans stated that “most of” the government’s
account was accurate, but he challenged certain aspects of it as “a
bunch of lies.” He then went on to acknowledge that he “did accept
money from Varney Voker” and “did do a drug sale with Mark Hall,”
and he further admitted, “if I took money from Varney Voker, I guess
that means I sold crack cocaine - well, base cocaine, but both.” In
the context of Alleyne v. United States, 570 U.S. 99 (2013), which
held that “any fact that increases the mandatory minimum is an
‘element’ that must be submitted to a jury,” id. at 103, these
statements are insufficient to support application of the enhanced
statutory penalties of § 841(b)(1}(B) and (C). See United States v.
Williams, No. 08 CR 00401-4, 2019 WL 4014241, at *5 (N.D. Ill. Aug.
25, 2019) (Chang, J.). Indeed, I agree with Judge Chang’s observation
that irrespective of Alleyne’s non-retroactivity under 28 U.S.C.
§ 2255, Congress knew when it passed the First Step Act “that courts

were no longer constitutionally permitted to impose mandatory
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minimums based solely on judicial fact-finding at sentencing,” and
“would not have expected federal courts to then double-down on those
unconstitutional findings in applying the First Step Act.” Williams,
2019 WL 4014241 at *5. Accordingly, absent Mr. Evans’s unambiguous
admission of responsibility for conduct involving the requisite
quantities of heroin or cocaine, the record does not support
application of the statutory mandatory minimum sentences’ the
government invokes.

For the foregoing reasons, I conclude that Mr. Evans is eligible
for relief under the First Step Act. He overreaches, however, with
the argument that because he did not conclusively admit
responsibility for specific quantities of specific substances, the
so-called “general verdict” rule means that his term of imprisonment
may be “not more than 5 years”-the maximum allowable term for
marijuana offenses under § 841(b)(1)(D). Mr. Evans relies for this
argument on United States v. Dale, 178 F.3d 429, 432-33 (6th Cir.
1999), a case the Seventh Circuit views as “stand[ing] only for the
proposition that when it is unclear upon which charge a conviction
was based, the sentence may be no more than the statutory maximum
for the least-serious offense.” United States v. Gradilla, 317 F.
App’x 546, 549 (7th Cir. 2009) (original emphasis) (declining to
apply general verdict rule to defendant who pled guilty to both

marijuana and cocaine charges). As is clear from the foregoing
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excerpts of his plea hearing, Mr. Evans unambiguously admitted to
responsibility for selling some quantity of cocaine.

Turning to the discretionary component of the analysis, I find
that while there is no doubt about the seriousness of his offenses,
the materials Mr. Evans has submitted in support of his motion
indicate that he has worked hard to rehabilitate himself during his
fifteen-year period of incarceration. In addition, Mr. Evans appears
to have maintained strong ties with his family and has plans for his
future. Accordingly, I exercise my discretion and grant his motion

for a reduced sentence to time served.

ENTER ORDER:

Elaine E. Bucklo
United States District Judge

Dated: October 18, 2019
